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                                            16                        UNITED STATES DISTRICT COURT
                                            17                       CENTRAL DISTRICT OF CALIFORNIA
                                            18                      (WESTERN DIVISION – LOS ANGELES)
                                            19
                                               GRANT MCKEE and SETH BEALS,                Case No.: 2:17-cv-01941 GW(Ex)
                                            20 individually and on behalf of all others
                                               similarly situated,                        NOTICE OF LODGING
                                            21                                            [PROPOSED] ORDER
                                                                Plaintiffs,               PARTIALLY TRANSFERRING
                                            22                                            CLAIMS OF PLAINTIFFS
                                                     v.                                   TAYLOR FISSE AND BRYAN
                                            23                                            REES TO THE EASTERN
                                               AUDIBLE, INC.,                             DISTRICT OF NORTH
                                            24                                            CAROLINA
                                                                Defendant.
                                            25                                            Date:      April 19, 2018
                                                                                          Time:      8:30 AM
                                            26                                            Crtm:      9D
                                                                                          Judge:     George H. Wu
                                            27                                            Trial Date:NONE SET
                                            28    NOTICE OF LODGING PROPOSED
                                                  ORDER GRANTING MTN TO
                                                  TRANSFER VENUE                              Case No. 2:17-cv-1941 GW(Ex)
                                                 FW/10105273.1
                                          Case 2:17-cv-01941-GW-E Document 108 Filed 05/03/18 Page 2 of 2 Page ID #:2483



                                             1        Pursuant to the Court’s instructions in Docket No. 87, Audible lodges the
                                             2 following [Proposed] Order Partially Transferring Claims of Plaintiffs Taylor Fisse
                                             3 and Bryan Rees to the Eastern District of North Carolina.
                                             4
                                             5 Dated: May 3, 2018                     FENWICK & WEST LLP
                                             6
                                             7                                        By: s/ Matthew B. Becker
                                                                                          Matthew B. Becker
                                             8
                                                                                          Attorneys for Defendant
                                             9                                            AUDIBLE, INC.
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                                            28   NOTICE OF LODGING PROPOSED
                                                 ORDER GRANTING MTN TO
                                                 TRANSFER VENUE                          2       Case No. 2:17-cv-1941 GW(Ex)
